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                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA


OXFORD HOUSE, INC.,                                 )
a Delaware not for profit corporation               )
1010 Wayne Avenue                                   )
Silver Spring, Maryland 20910                       )
                                                    )
DANJEAN CAUSEWAY, LLC                               )
a Louisiana limited liability corporation           )
39417 Lakeland Avenue                               )
Prairieville, Louisiana 70769                       )
                                                    )
GLENDA K. ROY                                       )
P.O. Box 82702                                      )
Baton Rouge, Louisiana                              )
                                                    )
               and                                  )
                                                    )
RAYMOND K. ROY                                      )
P.O. Box 82702                                      )
Baton Rouge, LA                                     )
                                                    )   CIVIL ACTION NO. 3:11-cv-00391
                                                    )
               Plaintiffs,                          )
                                                    )
               v.                                   )
                                                    )
CITY OF BATON ROUGE, LOUISIANA,                     )
a Louisiana municipal corporation                   )
                                                    )
                                                    )
               Defendant.                           )


                                            COMPLAINT

                               PRELIMINARY STATEMENT

       In this fair housing action, plaintiffs, Oxford House, Inc., Danjean Causeway, LLC,

and Raymond K and Glenda M Roy claim that Defendant, City of Baton Rouge, Louisiana




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(“City”) has interfered with operation and occupancy of dwellings for disabled persons

recovering from alcoholism and substance abuse, in violation of the federal Fair Housing Act

and the Americans with Disabilities Act. Danjean Causeway, LLC owns a single-family

dwelling which, is being used as an Oxford House. Raymond K and Glenda Roy also own a

single-family dwelling, which is being used as an Oxford House. Specifically, this action

challenges the City’s refusal to grant the Plaintiffs a reasonable accommodation to permit up

to eight recovering substances abusers to live in dwellings located in single-family residential

zones within the City. The City grants reasonable accommodations to group homes that are

classified as “Special Homes” a type of housing for developmentally disabled persons, which

are licensed by the State of Louisiana and provides 24 hour staffing.        Upon receiving a

reasonable accommodation from the City “Special Homes” are allowed to exist in single

family zoning districts. Oxford Houses -- which are democratically run, financially self

supported, and immediately expels any resident who resumes the use of alcohol or drugs --

are not licensed by the State of Louisiana, and does not provide any staffing. The City has

refused as a reasonable accommodation a waiver of the licensing and staffing requirements,

and has instead commenced an action for injunctive relief in state court to enjoin the use of

the two properties as Oxford Houses on the basis that there are more than two unrelated

persons residing in the homes.

       The Plaintiffs also seek declaratory, temporary, preliminary and permanent injunctive

relief to enjoin the Defendants’ conduct, as well as monetary damages, costs and reasonable

attorneys’ fees.

                             JURISDICTION AND VENUE


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       1.      This Court has subject matter jurisdiction over this action under 28 U.S.C.

Sections 1331 and 1343, 42 U.S.C. Section 3613, and 42 U.S.C. Section 12133.

       2.      Declaratory and injunctive relief is sought pursuant to 42 U.S.C. 3613(c)(1) and

42 U.S.C. Section 12133, as well as Rules 57 and 65 of the Federal Rules of Civil Procedure.

       3.      Venue is proper in the United States District Court for the Middle District of

Louisiana as all acts complained of occurred within this District.

                                           PARTIES

       4.      Plaintiff, Oxford House, Inc. (“OHI”) is a Delaware not for Profit Corporation,

with a principal place of business in Silver Spring, Maryland. Oxford House, Inc. is an umbrella

organization serving all individual Oxford Houses throughout the United States, and has

exclusive authority for chartering individual Oxford Houses. It assists in the establishment of

affordable housing and supports to individuals with disabilities including those who are

recovering from substance abuse and/or alcoholism located at 4224 Drusilla Lane and 1858

Shawn Drive, Baton Rouge, Louisiana. All Oxford Houses are required to follow three rules:

each chartered Oxford House must (1) be financially self-supported, (2) be democratically run,

and (3) immediately expel anyone who relapses into drug and/or alcohol use.

       5.      Plaintiff, Danjean Causeway, LLC is a Louisiana limited liability corporation. It

owns a single family dwelling located at 4224 Drusilla Lane, Baton Rouge, LA, which is being

rented as an Oxford House for women in recovery from alcoholism and substance abuse.

       6.      Plaintiffs, Raymond K. Roy and Glenda M. Roy are married and own a single

family dwelling located at 1858 Shawn Drive, Baton Rouge, LA, which is being rented as an

Oxford House for women.




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       7.      Defendant, City of Baton Rouge, Louisiana, is a municipal corporation organized

and existing pursuant to the laws of the State of Louisiana. The Town is responsible for the acts

of its agents and employees, and is responsible for the enforcement of its zoning, building and

property maintenance codes. The City is a public entity under the Americans with Disabilities

Act, 42 U.S.C. 12131.

                  STATUTORY AND REGULATORY FRAMEWORK

       8.      In 1988, Congress amended the Fair Housing Act, 42 U.S.C. Section 3601 et seq.,

to extend the guarantee of fair housing to handicapped individuals. Congress also authorized the

Secretary of the United States Department of Housing and Urban Development to promulgate

regulations to implement the Fair Housing Act. 42 U.S.C. Section 3614a.

       9.      Under the Fair Housing Act, the term "handicap" means, with respect to a person,

a "physical or mental impairment which substantially limits one or more of such person's major

life activities, a record of such an impairment, or being regarded as having such an impairment."

42 U.S.C. Section 3602(h). The term "physical or mental impairment" includes "alcoholism"

and "drug addiction (other than addiction caused by current, illegal use of a controlled

substance)." 24 C.F.R. Section 100.201.

       10.     Under the Fair Housing Act, it is unlawful to discriminate against or otherwise

make unavailable or deny a dwelling to any buyer or renter because of a handicap of that buyer,

renter, or person residing in or intending to reside in that dwelling after it is sold, rented, or made

available. 42 U.S.C. Section 3604(f)(1).

       11.     The Fair Housing Act further provides that it is unlawful to discriminate against

any person in the terms, conditions, or privileges of sale or rental of a dwelling, or in the

provision of services or facilities in connection with such dwelling, because of the handicap of


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that person or persons residing in or intending to reside in that dwelling after it is sold, rented, or

made available. 42 U.S.C. Section 3604(f)(2).

       12.     The federal regulations implementing the Fair Housing Act specifically prohibit,

as a discriminatory activity, providing municipal services differently because of handicap. 24

C.F.R. 100.70 (d)(4).

       13.     The federal regulations implementing the Fair Housing Act further make it

unlawful, because of handicap, "to restrict or attempt to restrict the choices of a person by word

or conduct in connection with seeking, negotiating for, buying or renting a dwelling so as to . . .

discourage or obstruct choices in a community, neighborhood or development." 24 C.F.R.

Section 100.70(a).

       14.     The American with Disabilities Act requires that no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or be denied the

benefits of the services, program, or activities of a public entity, or be subjected to discrimination

by any such entity. 42 U.S.C. Section 12132.

       15.     The federal regulations implementing the Americans with Disabilities Act

prohibit a public entity from administering a licensing program in a manner that subjects

qualified individuals with disabilities to discrimination on the basis of disability, nor may a

public entity establish requirements for the programs or activities of licensees that subject

qualified individuals with disabilities to discrimination on the basis of disability. 28 C.F.R.

Section 35.130(6).

       16.     The federal regulations implementing the Americans With Disabilities Act also

make it unlawful for a public entity, in determining the site or location of a facility, to make

selections that have the purpose or effect of excluding individuals with disabilities from, denying


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them the benefits of, or otherwise subjecting them to discrimination. 28 C.F.R. Section

35.130(4)(I).

                                  STATEMENT OF FACTS

I.     4224 DRUSILLA LANE

       17.      In 2001, the State of State of Louisiana contracted with Oxford House, Inc. to

open Oxford Houses throughout the state. The contract has been renewed on yearly basis since it

was originally entered.

       18.      One of the purposes of the contract was to provide a cost-effective means of

providing a disciplined, supportive open-ended alcohol and drug-free environment for recovering

individuals.    The Louisiana Oxford Houses are intended to serve men and women that have

completed detoxification and short-term substance abuser treatment or have discharged from a

correctional facility with a history of drug and/or alcohol addiction.

       19.      Since 2001, there have been 60 Oxford Houses opened throughout the State of

Louisiana.

       20       On or about November, 2010, Plaintiff, Danjean Causeway, LLC rented 4224

Drusilla Lane to Oxford House-Drusilla for use as an Oxford House to provide safe and sober

housing for a maximum of nine (9) women.

       21       Upon information and belief, 4224 Drusilla Lane is located is a single family

zoning district within the City of Baton Rouge.

       22.      The residents 4224 Drusilla Lane, known as Oxford House-Drusilla, have access

to the entire house and all of the household facilities, and live in each house as any other group

of unrelated persons functioning as a single housekeeping unit. The residents of each house

share all household responsibilities. The residents live together purposefully to create a "family"


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atmosphere, where all aspects of domestic life are shared by the residents. There are no special

locks on the doors of the bedrooms.

          23.   Upon information and belief, on or about January, 2011, neighbors of 4224

Drusilla Lane complained to City officials that recovering alcoholics and recovering substance

abusers were residing at the premises.

          24.   On or about February 2, 2011, the City through Assistant Parish Attorney,

Maimuna Magee sent a letter to Plaintiff, Danjean Causeway, LLC that the City had received

complaints that more than two (2) unrelated persons were residing at 4224 Drusilla Lane in

violation of the City’s Unified Development Code, and that this was prohibited in an A-1 zone.

          25.   The letter from Ms. Magee, dated February 2, 2011 further stated that Danjean

Causeway, LLC had ten (10) days to correct the violation or the City would take legal action to

force compliance.

          26.   On or about February 4, 2011, Steven Polin, General Counsel for Oxford House,

Inc. sent a letter to Ms. Magee wherein he requested that the City make a reasonable

accommodation pursuant to the federal Fair Housing Act by waiving the number of unrelated

persons that could reside together as a family. It was also requested that the City treat the use of

4224 Drusilla Lane as a single-family use and the residents as the functional equivalent of a

family.

          27.   On or about February 24, 2011, Assistant Parish Attorney Magee responded to

Oxford House’s request for a reasonable accommodation by directing it to file an application for

a reasonable accommodation with the City of Baton Rouge’s Planning Commission.

          28.   On or about February 26, 2011, Oxford House through its General Counsel,

Steven Polin, sent a letter to Tiffany Johnson, Land Use and Zoning Coordinator for the Planning


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Commission and requested that the City of Baton Rouge make a reasonable accommodation in

the application of its zoning code. Specifically, it was requested that the City waive the number

of unrelated persons that could reside together as a family. It was also requested that the City

treat the use of 4224 Drusilla Lana as a single-family use and the residents as the functional

equivalent of a family.

        29.     On or about February 28, 2011 Ms. Johnson advised Mr. Polin that Oxford House

was required to use one of the City’s forms to request a reasonable accommodation. She further

advised Mr. Polin that the form could be found at the Planning Commission’s website.

        30.     On or about March 17, 2011, the City of Baton Rouge commenced a legal action

in state court seeking injunctive relief against Danjean Causeway, LLC for violation of the City’s

Unified Land Development Code for having more than two unrelated persons residing in an A-1

zone.   The case is styled “City of Baton Rouge/Parish of East Baton Rouge v. Danjean

Causeway, LLC” in the 19th Judicial District Court, Parish of East Baton Rouge, Case Number

600130, Section 27. A hearing on the City’s motion is scheduled for June 13, 2011.

        31.     On or about March 23, 2011, Oxford House, Inc. submitted its request for a

reasonable accommodation on the form required by the Planning Commission.         `

        32      The Form, A-9, is titled, Reasonable Accommodation for a Group Home. A

“group home is defined as follows:

        Special Homes are those buildings, other than institutions, operated by a person or

        persons, society, agency, corporation, institution or group licensed by the State wherein

        developmentally disabled persons are housed under the direct care of responsible adult

        persons on a twenty-four-hour basis to assure that a responsible adult is on

        premises at all times in case of emergency; and such buildings and premises shall


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       meet all city-parish building codes, fire codes and zoning ordinance requirements and

       state fire marshal requirements prior to the issuance of any State permits for

       occupancy and/or operation. Special homes shall not include pilot juvenile

       diagnostic development centers for at risk youths as established by the Department of

       Health and Hospitals of the State of Louisiana

       33.     The “Special Home” ordinance also recognizes that residents of these homes are

handicapped as that term is defined by the Federal Fair Housing Act. It states the following:

       Special homes for the handicapped (within the federal Fair Housing Act definition of

       "handicapped") are permitted uses in all residential zones where they are not permitted as

       of right, notwithstanding any zoning requirements inconsistent therewith, in all cases

       where granting permission for such use would be a "reasonable accommodation under the

       federal Fair Housing Act. A permit for such use will be granted by the City-Parish along

       with any provisions of the zoning ordinance that would otherwise prohibit such use will

       not be enforced, provided that the requested accommodation is reasonable. In

       determining whether a request for such a permit is reasonable, the City-Parish will

       consider the following:

       Whether the proposed special home for the handicapped would cause a "fundamental

       change," as interpreted by applicable decisions construing the federal Fair Housing Act in

       the City-Parish's zoning;

               Whether the proposed facility's violation of otherwise applicable zoning rules is

               "necessary," because of:

               The economics of its operation,

               The need for residential opportunities for handicapped persons, or


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               Any other reason constituting 'necessity' under applicable federal law; and

               Whether the proposed facility would cause any undue financial or administrative

       burden on the City-Parish.

       Parties seeking a reasonable accommodation must submit to the City-Parish Planning

       Commission staff information addressing these issues on forms supplied by the City-

       Parish. If the City-Parish has not issued a decision either granting or denying such request

       within 45 days of the filing of a completed application, the request will automatically be

       deemed granted, and the facility as described in the application will be allowed to begin

       its operations.

       34.     The reasonable accommodation application requires the applicant to provide

among other things a description of the types of “Developmental Disabled Persons” intending to

reside at the location; the number of employees that will be on duty; a description of the

physical alterations to make the house and yards suitable for the proposed use; and the state

license number.

       35.     Oxford House advised the Planning Commission in the completed form for its

request for a reasonable accommodation that it did not have a state license, nor was it required to

have a state license. Oxford House also advised the Planning Commission that there is no staff

or house manager at Oxford House-Drusilla.

       36.     On or about April 7, 2011, Ms. Johnson informed Oxford House that its request

for a reasonable accommodation had been denied by the Parish Attorney. She stated that the

reasons for the denial were that the application was not complete because it did not include a

state license. In addition she advised Oxford House that “Special Homes” were required to

provide direct care or supervision by a responsible adult person on a twenty-four hour basis.


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       37.    On or about April 22, 2011, Oxford House sent a letter to Ms. Johnson requesting

reconsideration of the City’s denial of its reasonable accommodation application. In requesting

reconsideration, Oxford House specifically stated that it was not seeking to be treated as a

“Special Home” but as a family and that the use of 4224 Drusilla Lane as a single family use.

Oxford House advised Ms. Johnson that these requests were specifically incorporated into its

reasonable accommodation application.      Oxford House, in requesting reconsideration of the

denial, specifically requested a waiver of the licensing and 24-hour staffing requirements which

had been applied to Oxford House and that it be treated the same as “Special Homes” for

reasonable accommodation purposes.

       38.     The City has not responded to Oxford House’s request for reconsideration of its

denial of the request for a reasonable accommodation

       39.    On or about June 1, 2011, Counsel for Oxford House had discussions with

members of the Parish Attorney’s office concerning the reasonable accommodation request and

the pending hearing in state court. It was requested that the City make available a process where

Oxford House could obtain the same zoning benefit as “Special Homes” through a similar

reasonable accommodation process.      In addition, Oxford House requested that the hearing

scheduled in state court for June 13, 2011 be stayed or continued until these issues could be

worked out. The City advised Oxford House it would provide a written response to these

requests with zoning suggestions as to how Oxford House could be permitted to exist legally at

4224 Drusilla Lane.

       40.    On or about June 6, 2011, in a letter attachment in an email from Joseph Scott,

Assistant Parish Attorney to Steven Polin, Oxford House advised that the City did not have any

evidence that the residents of Oxford House-Drusilla were handicapped as defined by the federal


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Fair Housing Act; that it would not treat the residents as a family; that the only reasonable

accommodation available to Oxford House was to apply for spot zoning or relocate to a more

appropriate zoning district; and that the City would go forward on its state court complaint.

       B.      1858 SHAWN DRIVE

       41      On or about March 1, 2011, Plaintiffs Raymond K. Roy and Glenda M. Roy

rented 1858 Shawn Drive Oxford House-Shawn for use as an Oxford House to provide safe and

sober housing for a maximum of nine (8) women.

       42.     On or about May 12, 2011, the City of Baton Rouge commenced a legal action in

state court seeking injunctive relief against Raymond K. Roy and Glenda M. Roy for violations

of the City’s Unified Land Development Code for having more than two unrelated persons

residing in an A-1 zone. The case is styled “City of Baton Rouge/Parish of East Baton Rouge v.

Raymond K. Roy and Glenda M. Roy” in the 19th Judicial District Court, Parish of East Baton

Rouge, Case Number 601697, Section 26. A hearing on the City’s motion is scheduled for

August 22, 2011.

       43.     On or about May 27 2011, Steven Polin, General Counsel for Oxford House, Inc.

sent a letter to Mianuma Magee, Assistant Parish Attorney wherein he requested that the City

make a reasonable accommodation pursuant to the federal Fair Housing Act by waiving the

number of unrelated persons that could reside together as a family.     It was also requested that

the City treat the use of 1858 Shawn Drive as a single-family use and the residents as the

functional equivalent of a family.     It was also requested that the City hold in abeyance

prosecution of the City’s petition for injunctive relief in abeyance pending the outcome of a

housing discrimination complaint Oxford House filed against the City for its refusal to grant a

request for a reasonable accommodation for 4224 Drusilla Lane.            Finally, Oxford House


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requested that the requirements for a reasonable accommodation for “Special Homes,,” i.e.

licensing by the state and 24-hour staffing, be waived.

       44.     On or about May 31, 2011,Tiffany Johnson-Wells, Land Use & Zoning

Coordinator, East Baton Rouge Planning Commission, sent Mr. Polin an email and advised him

to go to the Planning Commission website and obtain a reasonable accommodation application.

       45.     On or about May 31, 2011, Mr. Polin responded to the Johnson-Wells email with

Ms. Magee copied on it, and inquired as to whether the reasonable accommodation for Oxford

House-Shawn would be summarily rejected since it was neither licensed by the State of

Louisiana nor provides 24 hour staffing.

       46.     On or about May 31, 2011, Ms. Johnson-Wells responded to Mr. Polin in an email

that he should contact the Parish Attorney Office to discuss the matter.

       47.     On or about May 31, 2011, Ms. Magee contacted Mr. Polin in an email and

requested that he participate in a telephone conference on June 1, 2011 to discuss this matter and

“come to a clear understanding of your position in regards to all the Oxford House locations.

       48.     On or about June 1, 2011 a telephone conference call took place between Mr.

Polin and Ms. Magee, Assistant Parish Attorney Joseph Scott and Senior Special Assistant Parish

Attorney Cynthia Bohrer as described in Paragraph 39.

       49.     Based on the position of the City during the conversation and the letter sent to

Mr. Polin as described in paragraph 40, Oxford House has not submitted a request for a

reasonable accommodation using the form provided by the City as it would be futile to do so.

       50.     The effect of Defendant's actions has been to prevent the Plaintiffs from residing

at the dwelling of their choice or in any other home zoned for single-family use in the City of

Baton Rouge.


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       51.     Plaintiffs are aggrieved persons as they are disabled persons or associated with

disabled persons under the Fair Housing Amendments act of 1988, 42 U.S.C. Section 3602(d)

and (I) who have been injured by Defendant's discriminatory conduct and have suffered

damages, economic loss and a loss of civil rights as a result of the Defendant's conduct.

       52.     4224 Drusilla Lane and 1858 Shawn Drive are dwellings within the meaning of

section 802(b) of the Fair Housing Act, 42 U.S.C. Section 3602(b).

       53.     The effect of the City of Baton Rouge’s actions is to deny needed housing

opportunities to recovering alcoholics and substance abusers within the City of Baton Rouge.

       54.     The effect of the conduct of the City of Baton Rouge is to limit the housing

opportunities of unrelated disabled persons by denying them the right to live together as a group

in any residential zoning district in within the City.

       55.     The City of Baton Rouge is treating the residents of the aforementioned dwellings

in a discriminatory fashion, and is imposing far more stringent fire, zoning, building, property

maintenance and land use requirements on this group of unrelated disabled individuals living

together than it imposes upon individuals living together who are related by blood or marriage or

other groups of unrelated disabled persons.

       56.     By arbitrarily and illegally classifying the premises described as something other

than a single family use the City of Baton Rouge is making single family housing unavailable to

persons recovering from drugs and alcohol addiction who reside in dwelling that are neither

licensed by the State of Louisiana nor provides 24-hour staffing

       57.     The City of Baton Rouge has acted under color of state law in failing to

affirmatively further fair housing in its code enforcement activities with the purpose and effect of

discriminating against Plaintiffs solely because of their handicap, and applying those codes so as


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to deny Plaintiffs the residential opportunities available to persons related by blood, marriage or

adoption, or other groups of similarly situated unrelated disabled persons.

         58.   Plaintiffs are living in fear of losing their home and are suffering anxiety,

emotional distress, pain, setbacks in their efforts at recovery, and other irreparable harm as a

result of Defendant's actions. They have no adequate remedy at law.

         59.   The City of Baton Rouge has denied Plaintiffs due process of law by the arbitrary

manner in which it has classified the premises occupied by the Plaintiffs as something other than

a single family use and is seeking to use its municipal powers to force the plaintiffs from living

within residential zones within the City of Baton Rouge.

         60.   The City of Baton Rouge has failed to affirmatively further fair housing in the

administration and application of its zoning, building, property maintenance and life safety

codes.

         61.   The City of Baton Rouge has utilized its municipal services to threaten,

intimidate, harass and coerce the Plaintiffs after they have exercised their rights under the federal

Fair Housing Act.

         62.   The City is intentionally and maliciously harassing, intimidating and interfering

with the plaintiffs and persons associated with the plaintiffs with the intent of preventing from

Oxford House-Drusilla and Oxford House-Shawn from existing in single-family neighborhoods.

                                VI.     CLAIMS FOR RELIEF

                                            COUNT I

                                      FAIR HOUSING ACT

         63.   Plaintiffs reallege and incorporate herein by reference paragraphs 1 through 62

above.


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         64.      Defendant, The City of Baton Rouge, is violating Plaintiffs’ rights under the Fair

Housing Act, 42 U.S.C. Sections 3601, et. seq, and its implementing regulations by:

         a.       denying and otherwise making housing unavailable to the Plaintiffs because of

their disability;

         b.       using the City’s zoning, property maintenance and building codes as a pretext to

exclude the Plaintiffs because of their disability;

         c.       enforcing discriminatory zoning, property maintenance and building rules and

policies on the Plaintiffs because of their disability;

         d.       interfering with the right of the Plaintiffs to live in the dwelling of their choice;

         e.       failing to make reasonable accommodations in its zoning, building and property

maintenance codes so as to afford the Plaintiffs an equal opportunity to use and enjoy the

aforementioned dwelling; and,

         f.       retaliating against Plaintiffs because of their exercise their fair housing rights.

                                               COUNT II

                           AMERICANS WITH DISABILITIES ACT

         64.      Plaintiffs reallege and incorporate herein by reference paragraphs 1 through 63

above.

         65.      The Plaintiffs, Oxford House, Inc., Danjean Causeway, LLC, Raymond K. Roy

and Glenda M. Roy are associated with, and/or providing housing to people with disabilities as

defined in 42 U.S.C. 12102(2).

         66       The Defendant, The City of Baton Rouge, Louisiana, is a public entity under 42

U.S.C. 12131(1).




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        67.      The actions of the Defendant, The City of Baton Rouge, Louisiana, to exclude

4224 Drusilla Lane and 1858 Shawn Drive from residential zones violate the rights of the

Plaintiffs under the Americans With Disabilities Act, 42 U.S.C. 12132 et. seq., and the

regulations promulgated thereunder by:

        a.       denying the individual Plaintiffs who are in recovery from alcoholism and

substance abuse those in recovery the opportunity to participate in or benefit from the supportive

housing program offered by Oxford House, Inc.;

        b.       using land use, building and property maintenance ordinances and methods of

administering those ordinances with the purpose of subjecting the Plaintiffs to discrimination on

the basis of their handicap;

        c.       subjecting the Plaintiffs, on the basis of their disability, to discrimination;

        d.       denying the individual residents of Oxford House-Drusilla and Oxford House-

Shawn, those in recovery, an opportunity to participate in a program in the most integrated

setting appropriate to their needs;

        e.       denying the individual Plaintiffs and people with disabilities an equal opportunity

to participate in or benefit from services and programs equal to those of people without

disabilities;

        f.       utilizing licensing and permit requirements to provide municipal code

enforcement services that are not equal to groups of related non-disabled persons and groups of

unrelated disabled persons who are not recovering alcoholics and drug addicts;

        g.       utilizing licensing and permit requirements, a requirement not imposed upon other

groups of related or unrelated non disabled persons, to deny Plaintiffs because of the handicap of

the residents of Oxford House-Drusilla and Oxford House-Shawn, the enjoyment of any rights.


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                         RELIEF SOUGHT AS TO ALL COUNTS

       WHEREFORE, Plaintiffs pray that the Court award them the following relief:

       1.     Enter a temporary restraining order and/or preliminary and permanent injunctions

restraining Defendant, City of Baton Rouge, Louisiana from taking actions either directly or

indirectly which would interfere in any way with Plaintiffs' current use of the dwelling located

at4224 Drusilla Lane and 1858 Shawn Drive, Baton Rouge, Louisiana;

       2.      Enter a declaratory judgment that Defendant, The City of Baton Rouge, Louisiana

has illegally discriminated against Plaintiffs by arbitrarily and capriciously applying it zoning,

building and property maintenance codes to the occupancy of4224 Drusilla Land and 1858

Shawn Drive by groups of recovering alcoholics and addicts, thereby interfering with the

Plaintiffs' equal opportunity to use and enjoy a dwelling on the basis of handicap, in violation of

the Fair Housing Act and the Americans with Disabilities Act;

       3.      Enter a temporary restraining order and/or preliminary and permanent injunctions

enjoining Defendant, the City of Baton Rouge, its officers, employees, agents, attorneys and

successors, and all persons in active concert or participating with any of them, from interfering

with the operation of4224 Drusilla Lane and 1858 Shawn Drive as a home for recovering

alcoholics and substance abusers, and/or from interfering in any way with the rights of the

Plaintiffs to reside in those premises;

       4.      Enter a temporary restraining order and/or preliminary and permanent injunctions

enjoining The City of Baton Rouge, its officers, employees, agents, attorneys and successors, and

all persons in active concert or participating with any of them from actively assisting the

Defendant, in it efforts to interfering with the rights of recovering alcoholics or substance

abusers to reside at 4224 Drusilla Land and 1858 Shawn Drive


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       5.     Enter an order declaring that Plaintiffs' use of4224 Drusilla Lane and 1858 Shawn

Drive as an Oxford House is consistent with classification of the premises as a single family

dwelling, and requiring The City of Baton Rouge to apply all zoning, safety, property

maintenance and building codes to Plaintiffs' use of 4224 Drusilla Lane and 1858 Shawn Drive

in the same manner as it does to all other single family dwellings and to Special Homes when it

has granted those homes a reasonable accommodation;

       6.     Enter a temporary restraining order and/or preliminary injunction enjoining the

City from denying unlicensed and unstaffed housing for disabled persons from being denied the

same housing opportunities as housing for disabled persons that is licensed by the State of

Louisiana and providing 24 hours staffing.

       7.     Enter an order declaring the “Special Home” ordinance to be in violation of the

Federal Fair Housing Act as it does not make a reasonable accommodation for groups of

unrelated disabled persons that live in a housing program that is not licensed by the State of

Louisiana and does not provide 24 hour staffing.

       8.     Award compensatory damages;

       9.     Grant an award of reasonable costs and attorneys fees; and,

       10.    Order other such other relief as the Court deems just and proper.




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                           Respectfully submitted,


                           _/s/ Morgan Williams
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